Case 24-16239-JKS   Doc 130    Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                              Document     Page 1 of 15
Case 24-16239-JKS   Doc 130    Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                              Document     Page 2 of 15
Case 24-16239-JKS   Doc 130    Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                              Document     Page 3 of 15
Case 24-16239-JKS   Doc 130    Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                              Document     Page 4 of 15
Case 24-16239-JKS        Doc 130    Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                                   Document     Page 5 of 15


                                         Exhibit A - Amended



                            Monthly Operating Report – September 2024




Question 3: Did you pay all your bills on time

The bills for the following vendors have not been paid:



Real Estate Management Group - $4,125.00
Case 24-16239-JKS        Doc 130     Filed 04/15/25 Entered 04/15/25 17:10:15                Desc Main
                                    Document     Page 6 of 15


                                               Exhibit B



                            Monthly Operating Report – September 2024




Question 15 – Mobile Onsite Health Solutions LLC which Lime Line Operations LLC provides
staffing services to paid Gusto the payroll processing provider directly via wire transfer for certain
pay periods during this time. Gusto remitted direct deposit payments and all applicable taxes.
        Case 24-16239-JKS                 Doc 130       Filed 04/15/25 Entered 04/15/25 17:10:15                                 Desc Main
                                                       Document     Page 7 of 15

                                                                 Exhibit C

                                            Lime Line Monthly Operating Report - September 2024



Account No   Posting Date   Description                                                                                             Receipts

      4901     09/18/2024   PHONE/INTERNET TRNFR REF 2620833L FUNDS TRANSFER FRM DEP XXXXXX0303 FROM FUNDS TRANSFER VIA ONLINE         100.00
     3506      09/30/2024   PHONE/INTERNET TRNFR REF 2740811L FUNDS TRANSFER FRM DEP XXXXXX0303 FROM FUNDS TRANSFER VIA ONLINE         239.00
     3506      09/27/2024   PHONE/INTERNET TRNFR REF 2711154L FUNDS TRANSFER FRM DEP XXXXX3201 FROM FUNDS TRANSFER VIA ONLINE           75.50
     3506      09/27/2024   PHONE/INTERNET TRNFR REF 2711152L FUNDS TRANSFER FRM DEP XXXXXX0303 FROM FUNDS TRANSFER VIA ONLINE         360.00
     3506      09/27/2024   PHONE/INTERNET TRNFR REF 2711151L FUNDS TRANSFER FRM DEP XXXXXX5800 FROM FUNDS TRANSFER VIA ONLINE          55.00
     3506      09/27/2024   PHONE/INTERNET TRNFR REF 2711005L FUNDS TRANSFER FRM DEP XXXXXX5800 FROM FUNDS TRANSFER VIA ONLINE       1,400.00
     3506      09/24/2024   PHONE/INTERNET TRNFR REF 2680540L FUNDS TRANSFER FRM DEP XXXXXX0303 FROM FUNDS TRANSFER VIA ONLINE         780.00
     3506      09/23/2024   PHONE/INTERNET TRNFR REF 2670803L FUNDS TRANSFER FRM DEP XXXXXX5800 FROM FUNDS TRANSFER VIA ONLINE         270.00
     3506      09/20/2024   PHONE/INTERNET TRNFR REF 2640925L FUNDS TRANSFER FRM DEP XXXXXX4901 FROM FUNDS TRANSFER VIA ONLINE          75.98
     3506      09/20/2024   PHONE/INTERNET TRNFR REF 2640924L FUNDS TRANSFER FRM DEP XXXXXX0303 FROM FUNDS TRANSFER VIA ONLINE       1,290.00
     3506      09/03/2024   PHONE/INTERNET TRNFR REF 2471618L FUNDS TRANSFER FRM DEP XXXXXX0303 FROM FUNDS TRANSFER VIA ONLINE         450.00

                                                                                                                                     5,095.48
        Case 24-16239-JKS                      Doc 130       Filed 04/15/25 Entered 04/15/25 17:10:15                               Desc Main
                                                            Document     Page 8 of 15

                                                                             Exhibit D

                                                        Lime Line Monthly Operating Report - September 2024



Account No   Posting Date        Description                                                                                         Disbursements

      4901     09/30/2024        FEE MAINTENANCE CHARGE                                                                                        15.00
      4901     09/20/2024        PHONE/INTERNET TRNFR REF 2640925L FUNDS TRANSFER TO DEP XXXXX3506 FROM FUNDS TRANSFER VIA ONLINE              75.98
      4901     09/17/2024        ANALYSIS RESULTS CHG ANALYSIS ACTIVITY FOR 08/24                                                              25.00
      4901     09/17/2024        FEE BASED CHARGE FEE BASED ACTIVITY FOR 08/24                                                                  0.01
     3506      09/30/2024        FEE MAINTENANCE CHARGE                                                                                        15.00
     3506      09/30/2024 104    CHECK                                                                                                        973.83
     3506      09/30/2024 1010   CHECK                                                                                                        879.86
     3506      09/24/2024        FORCE POST DEBIT FOR OVERDRAFT CHECK # 1007                                                                   30.00
     3506      09/23/2024 1007   CHECK                                                                                                        879.86
     3506      09/23/2024        ACH DEBIT CCD CMPY ID: 9138864001 GUSTO TAX 041827 240923 6semk2a5ifu                                      1,171.43
     3506      09/17/2024        ANALYSIS RESULTS CHG ANALYSIS ACTIVITY FOR 08/24                                                              25.00
     3506      09/04/2024        ACH DEBIT CCD CMPY ID: 9138864007 GUSTO FEE 454145 240904 6semk24ftke                                        360.00

                                                                                                                                            4,450.97
Case 24-16239-JKS      Doc 130    Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                                 Document     Page 9 of 15


                                     Exhibit E - Amended



                          Monthly Operating Report – September 2024




Question 24: Total payables



Real Estate Management Group - $16,375.00
                                                       Case 24-16239-JKS                            Doc 130 Filed 04/15/25 Entered 04/15/25 17:10:15                               Desc Main
                                                                                                           Document    Page 10 ofLast
                                                                                                                                   15Statement:                                         August 31, 2024
                                                                                                                                               Statement Ending:                     September 30, 2024
                                                                                                                                               Page:                                              1 of 2




                                                                                 17086 M0656DDA100124100659 08 000000000 0 002
                                                       ALHNDNFOFLG BIG DNEOGK
                                                       AHOEHLHBFDGM M MHHLDOK     LIME LINE OPERATIONS LLC
                                                       ALMJNHFOHLO MLHNLNKJJK
                                                       ALHM DO IOEJBDIE FCGBK     DIP CASE # 24-16240 OPERATING ACCOUNT
29077 0751875 0001-0002




                                                       ADO INJODFMEDFHEFCDMJK
                                                       DDLLDDLDDDLDLDLLLLDDLL
                                                                                  575 CORPORATE DR SUITE 525
                                                                                  MAHWAH NJ 07430-2330




                                                     Account Statement
4901 0




                                                     VALLEY BASIC BUSINESS CHECKING -                                              4901
                                                     SUMMARY FOR THE PERIOD: 09/01/24 - 09/30/24

                                                                 Beginning Balance                     Deposits & Other Credits           Withdrawals & Other Debits                 Ending Balance
                                                                                $1.00           +             $100.00               -             $115.99                 =             -$14.99


                                                     TRANSACTIONS
                                                                                                                                        Withdrawals &                Deposits &
                                                     Date                       Description                                              Other Debits              Other Credits                  Balance
                                                                                Beginning Balance                                                                                                     $1.00
                                                     09/17                      FEE BASED CHARGE                                               -$0.01                                                 $0.99
                                                                                FEE BASED ACTIVITY FOR 08/24
                                                     09/17                      ANALYSIS RESULTS CHG                                          -$25.00                                             -$24.01
                                                                                ANALYSIS ACTIVITY FOR 08/24
                                                     09/18                      PHONE/INTERNET TRNFR                                                                   $100.00                    $75.99
                                                                                REF 2620833L FUNDS TRANSFER FRM DEP
                                                                                XXXXXX0303 FROM FUNDS TRANSFER VIA
                                                                                ONLINE
                                                     09/20                      PHONE/INTERNET TRNFR                                          -$75.98                                                 $0.01
                                                                                REF 2640925L FUNDS TRANSFER TO DEP
                                                                                XXXXX3506 FROM FUNDS TRANSFER VIA
                                                                                ONLINE
                                                     09/30                      FEE                                                           -$15.00                                             -$14.99
                                                                                MAINTENANCE CHARGE
                                                     Ending Balance                                                                                                                               -$14.99
                          ALHNDNFOFLG BIGOC ANEMDK
                          AHOEHLHBFDGM M MLKGOKOKK
                          ALMJNHFOHLO OIBKECDGLDEK
                          ALHM DO JNLMABCBDL M DGK
                          ADO J BFEHK JFEM HLBAMGK
                          AGMKEAMACECOCKGKAMKMGKEK




                                                                                                                              17086 0751875 0001-0002 M0656DDA100124100659 08 L 0
                                                     Case 24-16239-JKS   Doc 130 Filed 04/15/25 Entered 04/15/25 17:10:15              Desc Main
                                                                                Document    Page 11 of 15
                                                                                                 Account Number:                                     4901
                                                                                                    Statement Date:                            09/30/2024
                                                                                                    Page :                                          2 of 2
29077 0751876 0002-0002
4901 0




                          ALHNDNFOFLG BIGOC ANEMDK
                          AHOEHLHBFCHM M MLKGOLOKK
                          ALMJNHEOHDO MLBKFEBNEEFK
                          ALHMHLO LMEKHAFDI FBODGK
                          ADO L JGKBGLCAJCOFNBKMHK
                          AGEAIIEAOAAOMCOOMAEOCKEK




                                                                                         17086 0751876 0002-0002 M0656DDA100124100659 08 L 0
                                                       Case 24-16239-JKS                            Doc 130 Filed 04/15/25 Entered 04/15/25 17:10:15                               Desc Main
                                                                                                           Document    Page 12 ofLast
                                                                                                                                   15Statement:                                         August 31, 2024
                                                                                                                                               Statement Ending:                     September 30, 2024
                                                                                                                                               Page:                                              1 of 4




                                                                                 47227 M0656DDA100124100659 07 000000000 0 004
                                                       ALHNDNFOFLGLBOGMCIE GK
                                                       AHOEHLHBFDGMHMHIIKJFMK     LIME LINE OPERATIONS LLC
                                                       ALMJNHFMHLO NKMF HJJK
                                                       ALHM DO L BOK OJBCGMFK     DIP CASE # 24-16240 PAYROLL ACCOUNT
84096 0637639 0001-0004




                                                       ADO JNECNOHKJICKJKE JK
                                                       DDLLDDDDDDLDDDDLLLDDLL
                                                                                  575 CORPORATE DR SUITE 525
                                                                                  MAHWAH NJ 07430-2330




                                                     Account Statement
3506 0




                                                     VALLEY BASIC BUSINESS CHECKING -                                             3506
                                                     SUMMARY FOR THE PERIOD: 09/01/24 - 09/30/24

                                                                 Beginning Balance                     Deposits & Other Credits           Withdrawals & Other Debits                 Ending Balance
                                                                                $80.89          +            $4,995.48              -            $4,334.98                 =           $741.39


                                                     TRANSACTIONS
                                                                                                                                         Withdrawals &               Deposits &
                                                     Date                       Description                                               Other Debits             Other Credits                  Balance
                                                                                Beginning Balance                                                                                                 $80.89
                                                     09/03                      PHONE/INTERNET TRNFR                                                                    $450.00                  $530.89
                                                                                REF 2471618L FUNDS TRANSFER FRM DEP
                                                                                XXXXXX0303 FROM FUNDS TRANSFER VIA
                                                                                ONLINE
                                                     09/04                      ACH DEBIT                                                    -$360.00                                            $170.89
                                                                                GUSTO FEE 454145 240904 6semk24ftke
                                                     09/17                      ANALYSIS RESULTS CHG                                          -$25.00                                            $145.89
                                                                                ANALYSIS ACTIVITY FOR 08/24
                                                     09/20                      PHONE/INTERNET TRNFR                                                                   $1,290.00               $1,435.89
                                                                                REF 2640924L FUNDS TRANSFER FRM DEP
                                                                                XXXXXX0303 FROM FUNDS TRANSFER VIA
                                                                                ONLINE
                                                     09/20                      PHONE/INTERNET TRNFR                                                                     $75.98                $1,511.87
                                                                                REF 2640925L FUNDS TRANSFER FRM DEP
                                                                                XXXXXX4901 FROM FUNDS TRANSFER VIA
                          ALHNDNFOFLGLBOGMC ANEMDK
                                                                                ONLINE
                          AHOEHLHBFDGMHMHMLKG LOKK
                          ALMJNHFMHLO IBLEFDALCEK    09/23                      PHONE/INTERNET TRNFR                                                                    $270.00                $1,781.87
                          ALHM DO INFHJAC GEMKFLOK
                          ADO IOFMGJ KMBNGMCNJOGGK                              REF 2670803L FUNDS TRANSFER FRM DEP
                          AGIEMIMICMCOGCGCAACGMCEK
                                                                                XXXXXX5800 FROM FUNDS TRANSFER VIA
                                                                                ONLINE
                                                     09/23                      ACH DEBIT                                                  -$1,171.43                                            $610.44
                                                                                GUSTO TAX 041827 240923 6semk2a5ifu
                                                     09/23                      CHECK 1007                                                   -$879.86                                           -$269.42
                                                     09/24                      PHONE/INTERNET TRNFR                                                                    $780.00                  $510.58




                                                                                                                              47227 0637639 0001-0004 M0656DDA100124100659 07 L 0
                                                        Case 24-16239-JKS                Doc 130 Filed 04/15/25 Entered 04/15/25 17:10:15                                   Desc Main
                                                                                                Document    Page 13 of 15
                                                                                                                 Account Number:                                                     3506
                                                                                                                                    Statement Date:                            09/30/2024
                                                                                                                                    Page :                                          2 of 4




                                                     TRANSACTIONS (continued)
84096 0637640 0002-0004




                                                                                                                                 Withdrawals &                Deposits &
                                                     Date       Description                                                       Other Debits              Other Credits                Balance
                                                                REF 2680540L FUNDS TRANSFER FRM DEP
                                                                XXXXXX0303 FROM FUNDS TRANSFER VIA
                                                                ONLINE
                                                     09/24      PAID ITEM FEE                                                          -$30.00                                          $480.58
                                                                FOR OVERDRAFT CHECK #    1007
                                                     09/27      PHONE/INTERNET TRNFR                                                                          $1,400.00               $1,880.58
                                                                REF 2711005L FUNDS TRANSFER FRM DEP
                                                                XXXXXX5800 FROM FUNDS TRANSFER VIA
                                                                ONLINE
                                                     09/27      PHONE/INTERNET TRNFR                                                                              $55.00              $1,935.58
3506 0




                                                                REF 2711151L FUNDS TRANSFER FRM DEP
                                                                XXXXXX5800 FROM FUNDS TRANSFER VIA
                                                                ONLINE
                                                     09/27      PHONE/INTERNET TRNFR                                                                            $360.00               $2,295.58
                                                                REF 2711152L FUNDS TRANSFER FRM DEP
                                                                XXXXXX0303 FROM FUNDS TRANSFER VIA
                                                                ONLINE
                                                     09/27      PHONE/INTERNET TRNFR                                                                              $75.50              $2,371.08
                                                                REF 2711154L FUNDS TRANSFER FRM DEP
                                                                XXXXX3201 FROM FUNDS TRANSFER VIA
                                                                ONLINE
                                                     09/30      PHONE/INTERNET TRNFR                                                                            $239.00               $2,610.08
                                                                REF 2740811L FUNDS TRANSFER FRM DEP
                                                                XXXXXX0303 FROM FUNDS TRANSFER VIA
                                                                ONLINE
                                                     09/30      CHECK 1010                                                            -$879.86                                        $1,730.22
                                                     09/30      CHECK 104                                                             -$973.83                                         $756.39
                                                     09/30      FEE                                                                     -$15.00                                        $741.39
                                                                MAINTENANCE CHARGE
                                                     Ending Balance                                                                                                                     $741.39


                                                     CHECKS IN ORDER
                                                     Date                              Number                     Amount     Date                                 Number              Amount
                                                     09/30                                104                    $973.83     09/30                                1010*              $879.86
                                                     09/23                              1007*                    $879.86
                                                     (*) Check Number Missing or Check Converted to Electronic Transaction and Listed under the Transaction section.


                                                     OVERDRAFT FEES
                                                                                                        Total This Period:                  Total Year-To-Date:

                          ALHNDNFOFLGLBOGMC ANEMDK
                          AHOEHLHBFCHMHMHMLKG LOKK
                          ALMJNHFMHDO MIBLEHHOI EK
                                                     Total Overdraft Fees:                                        $30.00                                $30.00
                          ALHM DO INANHEECNHKM DGK
                          ADO KONF ACI HLOGMDHF GK
                          AGMMOIMEGACKGKGCIICAIKMK




                                                                                                                     47227 0637640 0002-0004 M0656DDA100124100659 07 L 0
Case 24-16239-JKS   Doc 130 Filed 04/15/25 Entered 04/15/25 17:10:15   Desc Main
                           Document    Page 14 of 15
                                                     Case 24-16239-JKS   Doc 130 Filed 04/15/25 Entered 04/15/25 17:10:15              Desc Main
                                                                                Document    Page 15 of 15
                                                                                                 Account Number:                                     3506
                                                                                                    Statement Date:                            09/30/2024
                                                                                                    Page :                                          4 of 4
84096 0637642 0004-0004
3506 0




                          ALHNDNFOFLGLBOGMC ANEMDK
                          AHOEHLHBEDGMHMHMLKG LOKK
                          ALMJNHEM DO MIBLEFHHLLEK
                          ALHMHLO I CKBKOGEIHNGDOK
                          ADO JOIEHAOHJGODIHMCAJHK
                          AGACCAMMGEOMICGKEIKAECMK




                                                                                         47227 0637642 0004-0004 M0656DDA100124100659 07 L 0
